
89 S.W.3d 29 (2002)
In the Interest of N.K. and D.T.K., Children.
No. 01-1070.
Supreme Court of Texas.
July 3, 2002.
Jana Edith Turner, David C. Turner, Jr., Turner Meeham &amp; Porter, Bonham, for Petitioner.
Joseph Lawrence Sheppard, Burleson, John Cornyn, Attorney General of the State of Texas, Howard G. Baldwin, First Assistant Attorney General, Philip A. Lionberger, Jeffrey S. Boyd, Office of the Attorney General of Texas, Julie Caruthers Parsley, Office of the Solicitor General of Texas, Austin, for Respondent.
*30 PER CURIAM.
In this case, the trial court terminated the parent-child relationship between Casey K. and her children N.K. and D.T.K. The court of appeals affirmed the trial court's decision. 54 S.W.3d 499, 506. In doing so, the court of appeals reviewed the evidence under the traditional factual sufficiency standard, holding that the court would "sustain a factual sufficiency challenge only if we conclude that the finding is so against the great weight and preponderance of the evidence as to be clearly wrong and unjust." Id. at 504. Our decision today in In re C.H., 89 S.W.3d 17, (Tex.2002), rejects that approach. Accordingly, without hearing oral argument, we grant the petition for review without reference to the merits, vacate the court of appeals' judgment, and remand this case to that court for further proceedings. See Tex.R.App. P. 59.1, 60.2(f).
